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     erroneously sued as “Matson Navigation Co.”
 8

 9                                  UNITED STATES DISTRICT COURT
10                                 NORTHERN DISTRICT OF CALIFORNIA
11

12   DANIEL B. MARTIN,                             CASE NO.: 3:23-cv-04859-RFL
13                   Plaintiff,                    DEFENDANT MATSON NAVIGATION
                                                   COMPANY, INC.’S NOTICE OF MOTION
14                                                 AND MOTION TO DISMISS PLAINTIFF
             v.
                                                   DANIEL B. MARTIN’S THIRD AMENDED
15                                                 COMPLAINT
     MASTERS, MATES & PILOTS; and
16                                                 DATE:           November 5, 2024
     MATSON NAVIGATION CO.,                        TIME:           10:00 a.m.
17                                                 CTRM:           15
                     Defendants.                   JUDGE:          Hon. Rita F. Lin
18
                                                   TAC Filed:       August 15, 2024
19                                                 SAC Filed:       April 16, 2024
                                                   FAC Filed:       December 12, 2023
20                                                 Complaint Filed: September 22, 2023
                                                   Trial Date:      None Set
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 1                                  NOTICE OF MOTION AND MOTION

 2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3           PLEASE TAKE NOTICE that on November 5, 2024, at 10:00 a.m., or as soon thereafter as the

 4   matter may be heard in Courtroom 15 of the above-entitled court, located at San Francisco Courthouse,

 5   Courtroom 15, 18th Floor, 450 Golden Gate Ave., San Francisco, CA 94102, before the Honorable Rita

 6   F. Lin, Defendant Matson Navigation Company, Inc. (erroneously sued as Matson Navigation Co.)

 7   (“Matson”), by and through its undersigned counsel, will and hereby move for an order dismissing each

 8   of Plaintiff Daniel B. Martin’s (“Plaintiff”) claims set forth in the Third Amended Complaint (the

 9   “TAC”) (Dkt. 66), with prejudice under the Federal Rules of Civil Procedure 12(b)(6) for failure to state

10   a claim.

11           This motion is based on the grounds that Plaintiff’s TAC cannot “‘state a claim to relief that is

12   plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This motion is based on this Notice

13   of Motion and Motion, the following Memorandum of Points and Authorities, and such other matters as

14   may be presented to the Court at or before the hearing on this motion.

15

16   DATE: August 29, 2024                      FISHER & PHILLIPS LLP

17
                                           By: /s/Jason A. Geller
18                                             Jason A. Geller
                                               Hyunki (John) Jung
19                                             Attorneys for Defendant
                                               Matson Navigation Company, Inc. (erroneously
20                                             named as Matson Navigation Co.)
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      INTRODUCTION

 3           Having already filed four complaints, especially twice with his counsel’s assistance, Plaintiff

 4   Daniel B. Martin (“Plaintiff”) still has not been able to state a plausible cause of action. The Third

 5   Amended Complaint (“TAC”) alleges two causes of action for (1) medical battery and (2) 42 U.S.C.

 6   §1985: conspiracy against rights. While the TAC purportedly attempted to address the deficiencies in

 7   the Second Amended Complaint (“SAC”) by removing a cause of action for the duty of fair

 8   representation and adding a new 42 U.S.C. § 1985 cause of action, the TAC, as pled, still presents the

 9   same deficiencies, if not worse, identified in Matson’s prior Motions, and it should be dismissed in its

10   entirety, with prejudice and without further leave to amend.

11           As an initial matter, the first cause of action for medical battery must be dismissed because

12   Plaintiff cannot plausibly allege a prima facie case for medical battery. To state a claim for medical

13   battery, Plaintiff must allege, among other things, that Defendant performed a medical procedure without

14   Plaintiff’s consent or that Plaintiff consented to one medical procedure, but Defendant performed a

15   substantially different procedure. Even when the TAC is viewed in the most generous matter, Plaintiff

16   alleges that Matson, by implementing the COVID-19 Vaccination Policy, somehow committed a

17   medical battery because “Matson and MM&P [allegedly] conspired to exert coercive pressure upon

18   [Plaintiff] to accept unwanted medical treatment by threatening his livelihood.” TAC, ¶ 42. Notably,

19   however, the TAC is completely silent as to whether Matson, a non-medical provider, performed a

20   medical procedure without Plaintiff’s consent or that Matson performed a substantially different

21   procedure from that which Plaintiff consented to undergo, other than these conclusory allegations of

22   “coercive pressure.” This is because Matson, a non-medical provider, cannot commit medical battery as

23   a matter of law.

24           Further, to the extent that the TAC relies on the case law (In re Terrazas, 73 Cal. App. 5th 960,

25   966-67 (2022)) to allege that Matson purportedly denied Plaintiff’s “constitutional privacy right that

26   protects against receiving unwanted medical treatment” (TAC, ¶ 41), his reliance on that case is

27   misplaced because, unlike in Terrazas where an incapacitated inmate’s constitutional right to privacy

28   was at issue because he could not provide informed consent, nothing in the TAC indicates that Plaintiff
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 1   lacks the capacity provide informed consent to the COVID-19 vaccines. Even assuming arguendo that

 2   Matson’s implementation of the COVID-19 vaccination policy somehow triggered Plaintiff’s right to

 3   privacy guaranteed by the California Constitution, article I, section 1 (it did not), the TAC has failed to

 4   allege that any such right was violated. On the contrary, the TAC makes clear that Plaintiff has indeed

 5   exercised his right not to take the COVID-19 vaccines even with the predictable result that his

 6   employment ended. See TAC, ¶ 29 (“Mr. Martin objected to his taking the COVID-19 vaccine.”).

 7           Moreover, Plaintiff’s claims also fail because there is no fundamental right to refuse vaccination

 8   in the context of mandatory vaccination requirements, as case law makes clear. Moreover, to the extent

 9   Plaintiff relies on the theory that Matson exerted “coercive pressure upon [Plaintiff] to accept unwanted

10   medical treatment by threatening his livelihood” (TAC, ¶ 34), this claim also fails as a matter of law

11   because mandating vaccinations as a condition of employment is lawful.

12           Additionally, Plaintiff’s stylistically revised second cause of action for 42 U.S.C. §1985:

13   conspiracy against rights must be dismissed for failure to state a claim because the FAC has failed to

14   allege (1) sufficient facts to support Plaintiff’s conclusory allegation of the existence of a conspiracy;

15   and (2) that Plaintiff was qualified as a member of a protected group because of “some racial, or perhaps

16   otherwise class-based, invidiously discriminatory animus behind” Matson and MM&P’s imaginary

17   conspiracy. In any event, section 1985(3) claim cannot survive because mandating vaccinations as a

18   condition of employment is lawful.

19           Finally, to the extent the Court interprets Plaintiff as attempting to assert Title VII claims – based

20   on the fact that all of Plaintiff’s claims are solely premised upon his assertion that Matson allegedly

21   violated Title VII when Matson was not able to accommodate his COVID-19 vaccine-related religious

22   exemption request – the TAC should be dismissed because his Title VII Claims are time-barred and also

23   because the TAC fails to plausibly allege a prima facie case.

24           Since the TAC, just like his original Complaint, the FAC, and the SAC, falls far short of stating

25   a plausible claim for relief and any further amendment would be highly futile, Matson respectfully

26   requests that the Court grant this Motion, with prejudice and without further leave to amend.

27   ///

28   ///
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 1   II.     STATEMENT OF ISSUES TO BE DECIDED

 2           The issues raised by this Motion are:

 3           (1) Whether Plaintiff’s First Cause of Action for “Medical Battery” fails to state a claim upon
                 which relief can be granted;
 4
             (2) Whether Plaintiff’s Second Cause of Action for “42 U.S.C. §1985: Conspiracy Against
 5               Rights” fails to state a claim upon which relief can be granted;
 6           (3) To the extent the Court interprets Plaintiff as attempting to assert a Title VII claim, whether
                 such a claim should be dismissed because it is timed-barred;
 7
             (4) To the extent the Court interprets Plaintiff as attempting to assert a Title VII claim, whether
 8               such a claim fails because the TAC fails to plausibly allege a prima facie case; and
 9           (5) Whether any further amendment would be futile, especially when the TAC is Plaintiff’s
                 fourth attempt to state a claim and was his second attempt after he retained counsel.
10
     III.    SUMMARY OF RELEVANT FACTS 1
11
             The TAC avers that Matson is “an owner / operator of ocean-going U.S. flagged merchant vessels
12
     under contract with MM&P … a maritime union [whose] membership consists primarily of Deck
13
     Officers licensed by the United States Coast Guard.” See TAC, ¶¶ 6, 7. According to the TAC, Plaintiff
14
     is “a United States Coast Guard- licensed Deck Officer and Member of the … [MM&P] ….” Id. at ¶ 5.
15
     Plaintiff alleges that “[a]s a Deck Officer, [he] had established a relationship with Matson, deploying
16
     several times on merchant voyages on behalf of Matson [and] [h]e intended to work on Matson vessels
17
     in port and at sea with an assignment from MM&P Dispatch Hall.” Id. at ¶¶ 8, 9. Plaintiff further
18
     contends that “[h]e was only one deployment away from retirement as of October 1, 2021, and was
19
     planning to deploy with Matson.” Id. at ¶ 14.
20
             The TAC further avers that on or around August 26, 2021, “ [a] notice titled ‘Memorandum of
21
     Understanding’ … was posted at the MM&P dispatch hall at Oakland, California … [t]he practical effect
22
     of [which] was that [,] as of October 1, 2021, no Member could be dispatched to work on a vessel
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25     This is a mere summary of the allegations in the TAC, and Matson does not concede the truthfulness
     of the same. While Matson vigorously disputes these allegations, for purposes of this Motion only, it
26   accepts the facts in the TAC as true and supplements them only with (1) publicly available documents
     and information of which the Court may take judicial notice and (2) the documents incorporated by
27   reference into the TAC. Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006); Intri-Plex Tech., Inc. v.
     Crest Grp., Inc., 499 F.3d 1048, 1052 (9th Cir. 2007); see also Request for Judicial Notice (“RJN”),
28   concurrently filed herewith.
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 1   operated by Matson either in port or at sea unless the Member provided proof of having accepted a

 2   vaccination for COVID-19” and that “no Member could be dispatched to a Matson vessel in any capacity

 3   unless that Member had received one of three proffered vaccines for COVID-19.” Id. at ¶¶ 16-18; see

 4   also Declaration of Danny Defanfi (“Defanti Decl.”), ¶¶ 3, 4, Ex. A; RJN, ¶ 1. According to the TAC,

 5   on September 20, 2021, shortly before Matson’s vaccination requirement went into effect, Plaintiff

 6   “objected to this requirement in a Notice / Demand dated September 20, 2021,” on the following

 7   grounds: “[e]ach of the listed vaccines at the time were available to the public solely under Emergency

 8   Use Authorization (EUA) as investigational vaccines not licensed for any indication”; “[t]he listed

 9   vaccines were in fact investigational ‘medical treatment’”; “Plaintiff asserted a religious right to refuse

10   an EUA medical product / treatment.” TAC, ¶ 19; Defanti Decl., ¶ 5, Ex. B; RJN, ¶ 2. Plaintiff further

11   contends after receiving Plaintiff’s September 20, 2021 letter, “Matson requested that [Plaintiff] submit

12   a request for religious exemption.” TAC, ¶ 20; Defanti Decl., ¶ 6, Ex. C; RJN, ¶ 2. The TAC further

13   avers that Plaintiff “submitted a request for religious exemption.” TAC, ¶ 21; Defanti Decl., ¶ 7, Ex. D;

14   RJN, ¶ 2. Thereafter, Plaintiff was notified that Matson could not accommodate his religious exemption

15   request. TAC, ¶ 22; Defanti Decl., ¶ 8, Ex. E; RJN, ¶ 2.

16            Based on the foregoing allegations, Plaintiff alleges that “[b]ecause of the MOU, [Plaintiff] was

17   barred from working on a Matson vessel as he had in the past [and] this [allegedly] amounted to the loss

18   of both a year’s income and his planned retirement.” TAC, ¶¶ 27, 28.

19   IV.      PROCEDURAL HISTORY

20            In March 2022, Plaintiff filed an EEOC Charge, alleging Matson’s purported Title VII violation

21   with respect to the COVID-19 vaccination policy. 2 The Charge specifically alleges that: “[o]n or around

22   September 2021, [he] was notified by [Matson] that effective October 1, 2021[,] all employees would

23   be required to be vaccinated, unless the employee had a religious or medical exemption.” Id. It further

24   states, “I sincerely hold a religious belief … my religious exemption was denied by [Matson].” Id. Based

25   on these allegations, Plaintiff alleges that he has been “discriminated against because of [his] religion …

26   in violation of [his] rights as protected by Title VII ….” Id. On February 13, 2023, the EEOC issued a

27
     2
28       RJN, ¶ 3, Ex. 1 (Plaintiff’s EEOC Charge of Discrimination, and the Right-to-Sue Letter).
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 1   right-to-sue notice. Id. Pursuant to this notice, Plaintiff was required to file a lawsuit within 90 days of

 2   his receipt of the notice. Id. 221 days after the EEOC issued Plaintiff the Right-to-Sue notice, on

 3   September 22, 2023, Plaintiff belatedly filed the original Complaint against Matson and MM&P,

 4   alleging causes of action for (1) compelled consent, (2) denial of right to refuse an EUA medical product,

 5   (3) denial of right to refuse medical treatment, and (4) tortious interference with contract. See generally

 6   Compl. (Dkt. 1).

 7           On November 21, 2023, Matson filed and served its Motion to Dismiss Plaintiff’s Complaint.

 8   (Dkt. 8). On December 12, 2023, in lieu of opposing Matson’s Motion, Plaintiff responded by filing the

 9   FAC. (Dkt. 23). The FAC reasserts largely non-cognizable six causes of action for (1) “No identified

10   duty on Plaintiff’s part”; (2) “MM&P / Matson ‘vaccine’ requirements were arbitrary and capricious”;

11   (3) “Wrongful termination – violation of right to refuse the proffered EUA medical products”; (4)

12   “Wrongful termination in violation of Plaintiff’s right to refuse investigational / experimental medical

13   products”; (5) “Wrongful Termination - violation of right to refuse medical treatment, violation of right

14   not to participate in experimental research”; and (6) “Breach of Contract.” See generally id.

15           On December 26, 2023, Matson filed and served its Motion to Dismiss Plaintiff’s FAC. (Dkt.

16   30). Matson’s Motion was fully briefed and was set for hearing on December 30, 2024. Id. On January

17   29, 2024, on the eve of the Motion hearing, then pro se Plaintiff filed a request for 30 day delay in

18   decision stating that he was “in the process of retaining counsel.” (Dkt. 39). On February 2, 2024, this

19   Court granted Plaintiff’s request to delay for 30 days any decision on the pending motions to dismiss,

20   “in view of Plaintiff’s representation that he [was] ‘in the process of retaining counsel.’” (Dkt. 42). Per

21   the order, “[b]y March 4, 2024, Plaintiff [was] ordered to file a status update on whether counsel has

22   been retained in this action.” Id.

23           On February 27, 2024, Plaintiff filed a status report stating that he was “still in the process of

24   attempting to obtain counsel [and he] does intend to seek leave to amend the [FAC] in a manner that

25   could defeat the Defendants’ motion to dismiss.” (Dkt. 45). On March 6, 2024, the Court further granted

26   Plaintiff’s request for additional time to retain counsel and file a motion for leave to amend the FAC.

27   (Dkt. 46). Notably, the Court made it clear that “[c]onsidering this is Plaintiff’s second extension of time,

28   Plaintiff shall file any such motion for leave to amend, counseled or not, by April 5, 2024.” Id.
                                              11
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 1           On April 5, 2024, Plaintiff, with new counsel of record, unilaterally filed the SAC in violation of

 2   the Court’s March 6, 2024 order. (Dkt. 47). On April 16, 2024, Defendants filed a joint non-opposition

 3   to Plaintiff’s filing of the SAC. (Dkt. 51). On the same date, the Court issued an order stating that

 4   “[h]aving construed Plaintiff’s [SAC] as a motion for leave to amend, and considering Defendants’

 5   notice of non-opposition to the motion, the Court GRANTS Plaintiff’s motion for leave to amend.” (Dkt.

 6   52). The order further directed Defendants to file their responsive pleading to the SAC (Dkt. 47) by May

 7   7, 2024. Id. One day before Defendants’ responsive pleading to the SAC was due, on May 6, 2024,

 8   Plaintiff filed a motion for leave to amend the SAC. (Dkt. 53). On May 7, 2024, Matson filed a Motion

 9   to Dismiss the SAC with prejudice and without leave to amend, given that the SAC has not adequately

10   pled plausible claims for relief despite newly retaining counsel and having a third bite at the apple. (Dkt.

11   55). On May 20, 2024, Matson timely filed its opposition to Plaintiff’s motion for leave to amend the

12   SAC (Dkt. 57) and subsequently filed a reply brief supporting the Motion to Dismiss the SAC on May

13   28, 2024. (Dkt. 61).

14           Thereafter, upon Plaintiff’s filing of an unopposed motion to continue the hearing on Defendants’

15   Motions to Dismiss the SAC (Dkt. 62), the Court reset the Motion hearing for August 27, 2024. (Dkt.

16   63). Then, on August 15, 2024, the Court issued an order granting Plaintiff’s motion for leave to amend

17   the SAC and denying Defendants’ Motions to Dismiss the SAC as moot. (Dkt. 65). The Court made

18   clear that “given the number of times Plaintiff has amended his claims, the Court is unlikely to grant any

19   further leave to amend if the claims do not survive a motion to dismiss.” Id. On the same date, Plaintiff

20   filed the TAC. (Dkt. 66).

21           Since the TAC has not adequately pled plausible claims for relief, Matson hereby moves to

22   dismiss the TAC with prejudice and without leave to amend.

23   V.      LEGAL STANDARD

24           A motion to dismiss pursuant to Rule 12(b)(6) tests the legal sufficiency of the claims asserted

25   in the complaint. Cairns v. Franklin Mint Co., 24 F.Supp.2d 1013, 1023 (C.D. Cal. 1998). Dismissal

26   under the rule may be based either on the “lack of a cognizable legal theory” or on “the absence of

27   sufficient facts alleged under a cognizable legal theory.” Balistreri v. Pacifica Police Dept, 901 F.2d

28   696, 699 (9th Cir. 1988). A motion to dismiss also is proper where, as here, a plaintiff seeks remedies to
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 1   which he is not entitled as a matter of law. See, e.g., King v. California, 784 F.2d 910 (9th Cir. 1986).

 2   While pro se complaints are held to less rigorous standards than formal pleadings by lawyers, the courts

 3   are empowered, nevertheless, to dismiss pro se complaints where the plaintiff fails to state a claim and

 4   where it appears beyond doubt that the plaintiff cannot prove facts to support a claim that would entitle

 5   him to relief. Haddock v. Board of Dental Examiners, 777 F 2d 462 (9th Cir. 1985).

 6   VI.     LEGAL ARGUMENT

 7           A.      Plaintiff’s First Cause of Action for “Medical Battery” Should be Dismissed Because

 8                   it Fails to State a Plausible Claim Upon Which Relief can be Granted.

 9           As an initial matter, the first cause of action for medical battery must be dismissed for failure to

10   state a claim upon which relief can be granted because (1) Plaintiff cannot plausibly allege a prima facie

11   case for medical battery; (2) Plaintiff’s reliance on the California Constitution is unavailing; and (3)

12   mandating vaccinations as a condition of employment is lawful.

13                   1.     Plaintiff Cannot Plausibly Allege a Prima Facie Case for Medical Battery.

14           To state a claim for medical battery, Plaintiff must allege: (1) that Matson performed a medical

15   procedure without Plaintiff’s consent, or, that Plaintiff consented to one medical procedure, but Matson

16   performed a substantially different procedure, (2) that Plaintiff was harmed, and (3) that Matson’s

17   conduct was a substantial factor in causing Plaintiff harm. See CACI No. 530A. Medical Battery; Saxena

18   v. Goffney, 159 Cal. App. 4th 316, 324 (2008) (noting that “a battery is an intentional tort that occurs

19   when a doctor performs a procedure without obtaining any consent”) (emphasis added); see also Conte

20   v. Girard Orthopaedic Surgeons Med. Grp., Inc., 107 Cal. App. 4th 1260, 1266-67 (2003) (“A battery

21   is an intentional and offensive touching of a person who has not consented to the touching” and “[i]t is

22   well settled that a physician who performs a medical procedure without the patient’s consent commits a

23   [medical] battery irrespective of the skill or care used.”).

24           Here, Plaintiff has clearly failed to plead any of these elements to support his first cause of action

25   for medical battery. The allegations contained in Plaintiff’s first cause of action for medical battery are

26   completely silent as to any medical procedure being performed by Matson, a non-medical provider.

27   When the TAC is viewed in the most generous matter, it appears to allege that Matson, by simply

28   implementing the COVID-19 Vaccination Policy, somehow committed a medical battery because
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 1   “Matson and MM&P [allegedly] conspired to exert coercive pressure upon [Plaintiff] to accept

 2   unwanted medical treatment by threatening his livelihood.” TAC, ¶ 42 (emphasis added). However,

 3   there are no other facts in the TAC or in the first cause of action for medical battery supporting the fact

 4   that Matson performed a medical procedure without Plaintiff’s consent or that Matson performed a

 5   substantially different procedure from that which Plaintiff consented to undergo, other than these

 6   conclusory allegations of “coercive pressure.” See Snider v Whitson, 184 Cal. App. 2d. 211, 214-215

 7   (1960) (when pleading medical battery, Plaintiff is held to a greater degree of specificity, requiring a

 8   recitation of specific facts upon which the allegation is based). Simply put, Plaintiff cannot establish that

 9   there was a medical procedure at issue that Matson, a non-medical provider, performed to touch Plaintiff

10   intentionally and offensively, e.g., by injecting a COVID-19 vaccine without Plaintiff’s consent.

11   Accordingly, the first cause of action for medical battery must be dismissed for failure to state a claim.

12                   2.     Plaintiff’s Reliance of the California Constitution to Argue the Alleged

13                          Violation of his Right to Refuse Medical Treatment is Unavailing.

14           Plaintiff’s medical battery claim also appears to allege that Matson denied Plaintiff’s

15   “constitutional privacy right that protects against receiving unwanted medical treatment.” TAC, ¶ 41. In

16   arguing so, Plaintiff cites In re Terrazas, 73 Cal. App. 5th 960, 966-67 (2022), but his reliance on that

17   case is misplaced because that case involves electroshock therapy (ECT) for a California prisoner who

18   cannot provide informed consent before ECT is performed on him due to a history of mental health. The

19   inmate in Terrazas was being held at the California Institute for Men on April 13, 2021 when the acting

20   warden petitioned a state superior court for authorization to perform ECT on him. Id. at 965-966.

21   Terrazas, who was convicted of first-degree murder at age 17, was by then a 44-year-old suffering

22   “schizoaffective disorder, bipolar type,” according to a prison psychiatrist. Id. at 965. Following the

23   warden’s petition, the trial court held a hearing, where Terrazas’s counsel argued that Terrazas could not

24   provide informed consent and disputed whether ECT would be beneficial. Id. at 966. The trial court

25   agreed that the State could not show that Terrazas had the capacity to provide informed consent. Id. But

26   it found that the State “had proven by clear and convincing evidence” that (a) there was “a compelling

27   interest justifying the use of ECT” on Terrazas; (b) there were “no less-onerous alternatives for him”;

28   and (c) that ECT is “a sound medical and psychiatric practice.” Id. Terrazas’ counsel then filed for a writ
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 1   of habeas corpus, and the Court of Appeal agreed to stay his ECT while it reviewed the petition. Id.

 2   Notably, in that appeal, Terrazas did not challenge the trial court’s findings. Id. Rather, he brought a

 3   claim under the right-to-privacy guarantee found in Article I, § 1 of the state Constitution, arguing for

 4   the “appointment of a surrogate decision maker to determine if [ECT] is medically necessary and

 5   consistent with [Terrazas’] expressed wishes or best interest.” Id. The court, however, held that the

 6   “constitutional right does not require the appointment of a surrogate decision maker for an incompetent

 7   prison inmate.” After noting that “[f]or almost all medical treatments involving prison inmates in

 8   California, it is already the case that the inmate’s wishes while competent are considered,” the court held

 9   that “if the inmate later lacks capacity,” the State is required to consider “the inmate’s personal values

10   and wishes, if known … before the state imposes invasive medical treatment on an inmate who lacks the

11   capacity to give informed consent.” Id. at 969. In short, in granting the writ of habeas corpus, the court

12   found that the incapacitated inmate’s constitutional right to privacy encompassed the right of the trial

13   court to ensure, if possible, that the imposition of ECT was consistent with his best wishes. Id. at 971.

14           Here, unlike in Terrazas, nothing in the TAC indicates that Plaintiff lacks the capacity to provide

15   informed consent to the COVID-19 vaccines. Rather, the TAC expressly alleges that “a COVID-19

16   vaccine” is something that “he did not want” (TAC, ¶ 33). Further, even assuming arguendo that

17   Matson’s implementation of the COVID-19 vaccination policy triggered Plaintiff’s right to privacy

18   guaranteed by the California Constitution, Article I, Section 1 (it did not), the TAC fails to plausibly

19   allege that any such right was violated because the TAC makes clear that Plaintiff has indeed exercised

20   his right to not take the COVID-19 vaccines, although with the predictable result that his employment

21   ended. See generally TAC.

22           More importantly, Plaintiff’s claims fail as a matter of law because neither “right to refuse

23   medical treatment” nor “freedom to choose to reject, or refuse to consent to, intrusion of his bodily

24   integrity” (TAC, ¶ 41), is a recognized fundamental right in the context of mandatory vaccination

25   requirements. Over a century ago, the U.S. Supreme Court recognized that mandatory vaccination

26   requirements, like Matson’s, do not implicate an individual’s fundamental right. See, e.g., Jacobson v.

27   Massachusetts, 197 U.S. 11, 32-33 (1905) (listing cases). Relying on Jacobson, many lower courts have

28   repeatedly held that there is no right to refuse vaccination. See Burcham v. City of Los Angeles, 562
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 1   F.Supp.3d 694, 706 (2022) (holding that “there has never been a fundamental right to refuse

 2   vaccination”); America’s Frontline Doctors v. Wilcox, No. EDCV 21-1243 JGB (KKx), 2022 WL

 3   1514038, at *8 (C.D. Cal. May 5, 2022) (rejecting plaintiffs’ arguments that the vaccine mandate violated

 4   the right to reject medical treatment and noting that “Plaintiffs fail to establish that the Policy implicates

 5   a fundamental right”); Health Freedom Defense Fund v. Reilly, CV 21-8688 DSF (PVCx), 2022 WL

 6   5442479, at *5 (C.D. Cal. Sept. 2, 2022) (same); Klaassen v. Trustees of Indiana Univ., 7 F.4th 592, 593

 7   (7th Cir. 2021) (“Given Jacobson [citation] …, there can’t be a constitutional problem with vaccination

 8   against SARS-CoV-2.”). As these cases undoubtedly demonstrate, there is no fundamental right to refuse

 9   vaccination in the context of mandatory vaccination requirements.

10                   3.     Mandating Vaccinations as a Condition of Employment is Lawful.

11           Moreover, Plaintiff’s theory that Matson somehow exerted “coercive pressure upon [Plaintiff] to

12   accept unwanted medical treatment by threatening his livelihood” (TAC, ¶ 42) also fails because

13   mandating vaccinations as a condition of employment is lawful. COVID-19 vaccination policies similar

14   to Matson’s vaccination policy have been addressed by many courts over the last three years and similar

15   legal arguments have been consistently rejected.

16           For example, in Burcham, a Central District case, the City’s vaccination policy, like here, allowed

17   employees to apply for religious or medical exemptions. Burcham, 562 F.Supp.3d at 699. After noting

18   that the mandatory vaccination policy did not force Plaintiffs to get vaccinated, did not amount to

19   “coercion,” and did not violate Plaintiffs’ constitutional rights, the Court granted the City’s motion and

20   dismissed the complaint. Id., at 707 n.4, 708. Other courts have drawn similar conclusions. See Beckerich

21   v. St. Elizabeth Med. Ctr., 563 F.Supp.3d 633, 644 (2021) (“[N]o Plaintiff in this case is being forcibly

22   vaccinated … no Plaintiff is being imprisoned and vaccinated against his or her will … Rather, these

23   Plaintiffs are choosing whether to comply with a condition of employment or to deal with the potential

24   consequences of that choice”); We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 294 (2d Cir. 2021)

25   (holding that making vaccination a condition of employment does not come close to the level of coercion

26   necessary to infringe a liberty interest in avoiding forcible medical treatment); McCutcheon v. Enlivant

27   ES, LLC, No. 5:21-cv-00393, 2021 WL 5234787, at *3 (S.D.W. Va. Nov. 9, 2021) (dismissing Plaintiff’s

28   similar claims noting that “[plaintiff] is free to accept or refuse the COVID-19 vaccine. If she refuses,
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 1   she need only to pursue employment elsewhere”).

 2           B.      Plaintiff’s Second Cause of Action for “42 U.S.C. § 1985: Conspiracy Against

 3                   Rights” Cannot Survive Dismissal.

 4           Plaintiff adds a new theory of liability, e.g., 42 U.S.C. § 1985: Conspiracy Against Rights, to the

 5   TAC in a purported attempt to cure the deficiencies identified in the SAC. However, adding this new

 6   cause of action does not change the conclusion that Plaintiff’s TAC is subject to dismissal because the

 7   TAC fails to plausibly allege a prima facie case for the 42 U.S.C. § 1985 claim.

 8           “To state a claim under 42 U.S.C. § 1985(3), a plaintiff must allege facts to support (1) the

 9   existence of a conspiracy, (2) to deprive him of the equal protection of the laws, or of equal privileges

10   and immunities under the laws, (3) an act by one of the conspirators in furtherance of the conspiracy,

11   and (4) a personal injury, property damage or a deprivation of any right or privilege of a citizen of the

12   United States.” Griffin v. Breckenridge, 403 U.S. 88, 102-103 (1971). In addition, there must be some

13   racial or other class-based, invidiously discriminatory animus behind the conspirators’ action. Id. To

14   make the requisite showing of class-based animus “the plaintiff must be a member of a class that requires

15   special federal assistance in protecting its civil rights.” Gerritsen v. de la Madrid Hurtado, 819 F.2d

16   1511, 1519 (9th Cir. 1987); Voigt v. Savell, 70 F.3d 1552, 1564 (9th Cir. 1995); Behringer v. Cal.

17   Polytechnic State Univ., Case No. 5:23-cv-00934-JFW (SK), 2023 WL 6811813 (C.D. Cal. Sept. 15,

18   2023). In other words, Plaintiff must allege that he is a member of a class of persons that the courts have

19   designated as a suspect or quasi-suspect class “requiring more exacting scrutiny or that Congress has

20   indicated through legislation that the class required special protection.” Sever v. Alaska Pulp Corp., 978

21   F.2d 1529, 1536 (9th Cir. 1992).

22           Here, Plaintiff’s claim under 42 U.S.C. § 1985 fails for two reasons.

23           First, the TAC fails to allege sufficient facts to support Plaintiff’s conclusory allegation of the

24   existence of a conspiracy. See Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980) (holding that

25   “[b]ecause appellant failed to allege any facts showing … invidious” discrimination on the part of

26   defendants, “the district court was … correct in dismissing the § 1985(3) claim”); see also Lockary v.

27   Kayfetz, 587 F. Supp. 631, 639 (N.D. Cal. 1984) (holding that “[a]llegations of conspiracies must be

28   supported by material facts, not merely conclusory statements”). In adding a new cause of action under
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 1   42 U.S.C. § 1985, the TAC avers, in wholly conclusory fashion, that “Matson and MM&P conspired to

 2   deprive [Plaintiff] of the right to the enjoyment of his profession, and of the compensation available to

 3   him for the exercise of his profession because he was unvaccinated against COVID-19 and / or because

 4   he held religious beliefs against COVID-19, without any genuine health justification for its actions.”

 5   TAC, ¶ 44. But in any event, there is no other factual allegations to support the assertion that Matson

 6   and MM&P acted in concert, rather than individually, in responding to Plaintiff’s religious exemption

 7   request.

 8           Second, Plaintiff’s section 1985(3) claim also cannot survive dismissal because he has failed to

 9   allege that there were some racial or other class-based, invidiously discriminatory animus behind Matson

10   and MM&P’s purported conspiracy. Gerritsen, 819 F.2d at 1519; Behringer, 2023 WL 6811813, at *6.

11   The Behringer case is instructive and directly on point in this regard. In Behringer, a former student who

12   was barred from attending class in person after refusing to comply with COVID-19 regulations sued the

13   university and local health authorities. Behringer, 2023 WL 6811813, at *1. In his fifth cause of action,

14   plaintiff alleges, just like here, that “defendants engaged in a conspiracy under 42 U.S.C. § 1985(3) ….”

15   Id. at 6. In granting defendant’s motion to dismiss, after noting that “to state a claim under § 1985(3),

16   plaintiff must allege that he was denied equal protection because of ‘some racial, or perhaps otherwise

17   class-based, invidiously discriminatory animus behind the conspirators’ action (internal citation

18   omitted),” the Central District held that “[plaintiff] has no basis to sue under § 1985(3) [because] being

19   among citizens still rankled by past Covid-19 measures … neither implicates even a quasi-suspect

20   classification nor qualifies as membership in a congressionally protected group.” Id.(emphasis added).

21           Here, while the TAC avers, in conclusory fashion, that “it is clear that the only justification

22   remaining for their actions are animus for those who remained unvaccinated against COVID-19 and / or

23   those who held religious beliefs against COVID-19 vaccination” (TAC, ¶ 45), Plaintiff has failed to

24   allege any additional facts to show any purported animus. Since the TAC has failed to plausibly allege

25   that Plaintiff was qualified as a member of a protected group because of “some racial, or perhaps

26   otherwise class-based, invidiously discriminatory animus behind the conspirators' action,” his section

27   1985(3) claim cannot survive dismissal. Moreover, Plaintiff’s section 1985(3) claim cannot survive in

28   any event because mandating vaccinations as a condition of employment is lawful, as discussed above.
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 1            C.     To the Extent the Court Interprets Plaintiff as Attempting to Assert a Title VII

 2                   Claim, it Fails as a Matter of law.

 3            While the TAC does not explicitly reference Title VII of the Civil Rights Act of 1964 (“Title

 4   VII”), it is undisputed that Plaintiff’s claims set forth therein arise out of Matson’s implementation of

 5   the COVID-19 vaccination policy. See, e.g., TAC ¶ 16 (“Matson … instituted a Requirement effective

 6   October 1, 2021, that no Member could be dispatched to a Matson vessel in any capacity unless that

 7   Member had received one of three proffered vaccines for COVID-19”); ¶ 15 (“Mr. Martin submitted a

 8   request for religious exemption”); and ¶ 21 (“Matson rejected the request without explanation”). In that

 9   regard, Plaintiff’s entire claims, regardless of how they were stylistically labeled in the TAC, are solely

10   premised upon his assertion that Matson allegedly violated Title VII when Matson was not able to

11   accommodate his COVID-19 vaccine-related religious exemption request. To the extent the Court

12   interprets Plaintiff as attempting to assert a Title VII claim, the TAC should be dismissed because (1)

13   his Title VII claim is time-barred, and (2) the TAC fails to plausibly allege a prima facie case.

14                   1.      Plaintiff’s Purported Title VII Claims are Time-Barred.

15            When the EEOC closes its charge and issues a right-to-sue letter, it provides the charging party

16   with a notification that “within ninety days after [receiving a right-to-sue letter] a civil action may be

17   brought against the respondent ….” 42 U.S.C. § 2000e–5(f)(1). Since this 90-day filing requirement

18   constitutes a statute of limitations, Plaintiff’s claims are time-barred if he fails to file a lawsuit within

19   the 90-day period. Scholar v. Pacific Bell, 963 F.2d 264, 266-267 (9th Cir. 1992).

20            Here, to the extent that the Court interprets Plaintiff as attempting to assert Title VII claims on

21   the ground that Plaintiff’s TAC is predicated on his Title VII claims, the Court should dismiss such

22   claims because Plaintiff failed to file his Complaint within this 90-day period. Since the EEOC issued

23   Plaintiff a right-to-sue letter on or around February 13, 2023, 3 Plaintiff had 90 days to file this lawsuit.

24   Id.; 42 U.S.C. § 2000e–5(f)(1); Scholar, 963 F.2d at 266-267. Assuming that Plaintiff received the letter

25   3 days after the issuance, he was required to file the Complaint by May 17, 2023. See Payan v. Aramark

26   Management Services Ltd. Partnership, 495 F.3d 1119, 1125-25 (9th Cir. 2007) (rebuttable presumption

27
     3
28       RJN, ¶ 3 (EEOC’s Right-to-Sue Letter).
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 1   exists that right-to-sue letter was received within 3 days of its mailing). Plaintiff did not timely file his

 2   Complaint; he waited until September 22, 2023, 221 days after the EEOC issued the letter, to file his

 3   Complaint. (Dkt. 1). Accordingly, to the extent this Court interprets the TAC as attempting to assert Title

 4   VII claims, the TAC should be dismissed in its entirety as his purported Title VII claims are time-barred.

 5                   2.     Plaintiff’s Title VII Claim Should Also be Dismissed Because the TAC Fails

 6                          to Plausibly Allege a Prima Facie Case.

 7           To state a plausible failure-to-accommodate claim under Title VII, Plaintiff must plead that (1)

 8   he had a sincerely held religious belief that conflicted with an employment duty; (2) he informed his

 9   employer of the religious belief and conflict, and (2) the employer subjected him to an adverse

10   employment action because of his inability to fulfill the job requirements. See Peterson v. Hewlett-

11   Packard Co., 358 F.3d 599, 606 (9th Cir. 2004) (citing Heller v. EBB Auto. Co., 8 F.3d 1433, 1438 (9th

12   Cir.1993)). To do so, Plaintiff must plausibly allege that his beliefs are grounded in religious beliefs, not

13   secular concerns. See Wisconsin v. Yoder, 406 U.S. 205, 215-16 (1972); Tiano v. Dillard Dep’t Stores,

14   Inc., 139 F.3d 679, 682 (9th Cir. 1998) (“Title VII does not protect secular preferences”); see also Mason

15   v. Gen. Brown Cent. Sch. Dist., 851 F.2d 47, 51 (2d Cir. 1988) (“[a]n individual’s assertion that the belief

16   [is religious does not] automatically mean that the belief is religious ... a threshold inquiry into the

17   religious aspect of particular beliefs and practices cannot be avoided if we are to determine what is in

18   fact based on religious belief, and what is based on secular or scientific principles”) (collecting cases).

19           Here, the TAC does not plausibly allege a prima facie case for Plaintiff’s purported Title VII

20   claim because it is completely devoid of any facts to show that Plaintiff had a sincerely held religious

21   belief that conflicted with an employment duty. Specifically, it fails to allege what religion Plaintiff

22   practices, what beliefs he holds, and most importantly, how those beliefs conflict with Matson’s COVID-

23   19 vaccine policy. See Lindsey v. Claremont Middle Sch., No. C 12-02639 LB, 2012 WL 5988548, at *2

24   (N.D. Cal. Nov. 29, 2019) (dismissing a plaintiff’s Title VII failure-to-accommodate claim in part

25   because it was unclear, “for instance, what religion [the plaintiff] practices, or how any of Defendants’

26   conduct affects that practice.”). Furthermore, the TAC fails to plausibly allege that Plaintiff’s stated

27   objections are rooted in religious concerns. Rather, Plaintiff’s objections that the COVID-19 vaccines

28   are “investigational vaccines not licensed for any indication” (TAC, ¶ 19.a.), “investigational ‘medical
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 1   treatments’” (TAC, ¶ 19.b.), “unwanted medical treatment” (TAC, ¶¶ 31-34, 41-42), intrusions of his

 2   “bodily integrity” (TAC, ¶¶ 30, 32-34, 41) or that “none of the vaccines prevented transmission of

 3   COVID-19 at the time they instituted the MOU” (TAC, ¶ 38) are unprotected secular beliefs.

 4           Courts have held that an employee’s religious exemption request can be denied on the grounds

 5   that the employee’s belief is not truly religious in nature. See Doe v. San Diego Unified Sch. Dist., 19

 6   F.4th 1173, 1180 (9th Cir. 2021) (“an employee’s request for an exemption from a COVID-19

 7   vaccination mandate can be denied on the grounds that the employee’s belief is not truly religious in

 8   nature”); Callahan v. Woods, 658 F.2d 679, 683 (9th Cir. 1981) (plaintiffs’ claims must originate from

 9   religious beliefs rather than purely secular philosophical concerns); Finkbeiner v. Geisinger Clinic, 623

10   F. Supp. 3d 458, 465 (M.D. Pa. 2022) (dismissing religious accommodation claims under Title VII

11   related to the COVID-19 vaccine mandate and finding plaintiff’s purported beliefs related to “free will”

12   were not religious); Passarella v. Aspirus, Inc., 2023 WL 2455681, at *2-7 (W.D. Wis. Mar. 10, 2023)

13   (exemption requests “predicated fundamentally on [] concerns with the safety of the vaccine and

14   [plaintiffs’] right to bodily integrity”). Consistent with the decisions of numerous courts considering

15   similar objections, Plaintiff’s purported Title VII claim should be dismissed because the TAC, as pled,

16   does not plausibly allege his purported sincerely held religious beliefs that conflicted with Matson’s

17   policy, other than his blanket objections purely based on secular principle.

18           D.      Plaintiff Should not be Afforded Additional Leave to Amend Again as Further

19                   Amendment Would Be Highly Futile.

20           The “court may deny leave to amend where amendment would be futile.” Flowers v. First

21   Hawaiian Bank, 295 F.3d 966, 976 (9th Cir. 2002). Here, any further amendment would be futile,

22   especially given the following. First, as fully discussed above, the TAC cannot plausibly state a claim

23   for the two causes of action as a matter of law. Moreover, the facts that the TAC is Plaintiff’s fourth

24   attempt, and it was his counsel’s second attempt further demonstrates that additional amendment would

25   be futile. Accordingly, as the Court recognized, “given the number of times Plaintiff has amended his

26   claims,” the Court should dismiss Plaintiff’s TAC with prejudice. See Calhoun v. VA MC San Diego,

27   No. 08-cv-2064, 2009 WL 1227891, at *1 (S.D. Cal. May 5, 2009) (dismissing without leave to amend

28   after concluding “there appears to be no circumstances under which Plaintiff can plausibly state a
                                              21
      DEFENDANT MATSON’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S THIRD AMENDED
                                          COMPLAINT
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 1   claim”); Beusgens v. Galloway, No. 07-cv-43, 2007 WL 1674097, at *2 (D. Or. June 7, 2007) (dismissing

 2   without leave to amend after affording the pro se plaintiff “the benefit of any doubt” but concluding that

 3   he could not remedy the deficiencies in his complaint through amendment); DelRio-Mocci v. Connolly

 4   Properties Inc., 672 F.3d 241, 251 (3d Cir. 2012) (holding plaintiffs are not entitled to amend a deficient

 5   complaint a third time when “amendment would be futile”).

 6   VII.    CONCLUSION

 7           For all of the foregoing reasons, Matson respectfully requests that the Court grant this Motion in

 8   its entirety to dismiss Plaintiff’s TAC, with prejudice and without leave to amend.

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10   DATE: August 29, 2024                        FISHER & PHILLIPS LLP

11
                                            By:
12                                                /s/Jason A. Geller
                                                  Jason A. Geller
13                                                Hyunki (John) Jung
                                                  Attorneys for Defendant
14                                                Matson Navigation Company, Inc. (erroneously
                                                  named as Matson Navigation Co.)
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      DEFENDANT MATSON’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S THIRD AMENDED
                                          COMPLAINT
     FP 52072785.1
